 

 

US. DISTRICT COURT

Age POTS mae OF TEXAS

 

AO 91 (Rev. 11/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

 

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UbT ~ 9 2019

 

 

for the
. CLERK, U.S. DISPRICTACOURT
Northern District of Texas By
Deputy

 

 

 

 

United States of America )
V. ) u Y
Kristopher Charles Martin Brown Case No. J ‘ |4- MY q| B
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)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 8, 2019 in the county of Dallas
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2119 Carjacking
18 U.S.C. § 922(j) Possession of a Stolen Firearm

This criminal complaint is based on these facts:

See attached affidavit of Special Agent Tonya A. English, Bureau of Alcohol, Tobacco, Firearms and Explosives

@ Continued on the attached sheet.

 

Loup el Contgtainant’ ‘s aor

Bes _Toriva A. English, Special moe

 

Printed name gnd fi

  

  

Sworn to before me and signed in my presence.

 

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KO UW Judte ’s signature. \_-—

City and state: DALLAS, TEXAS

Renee Harris Toliver, U.S. MAGISTRTATE JUD

 

Printed name and title

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Affidavit in Support of Criminal Complaint

1, I, Tonya A. English, a Special Agent with the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF), being duly sworn, depose and state as follows:

es I have been employed with the ATF since August of 2007. I have attended
formal training at the ATF National Academy about firearm and narcotics related
investigations to include but not limited to, the issuance and execution of search warrants,
utilization of cooperating individuals, firearms identification, firearms trafficking,
narcotics trafficking, and a variety of means to launder illegal proceeds. As an ATF special
agent, | am currently assigned to the ATF Dallas Group VII to investigate violations of
federal firearms and violent crime laws. Prior to being employed with ATF, I was a police
officer with the Arlington Police Department in Arlington, Texas, for over eight years.

3 As aresult of my training and experience as an ATF agent, I am familiar with
federal criminal laws and know that it is a violation of 18 U.S.C. § 2119 for any person, to
knowingly and intentionally, with intent to cause serious bodily harm, take a motor vehicle
that has been transported, shipped or received in interstate or foreign commerce from the
person or presence of another by force and violence or by intimidation, or the attempt to
do so. I also know it is a violation of 18 U.S.C. § 922(j) for any person to receive, possess,
conceal, store, barter, sell, or dispose of any stolen firearm or stolen ammunition, or pledge
or accept as security for a loan any stolen firearm or stolen ammunition, which is moving
as, which is a part of, which constitutes, or which has been shipped or transported in,
interstate or foreign commerce, either before or after it was stolen, knowing or having
reasonable cause to believe that the firearm or ammunition was stolen.

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4, This affidavit is made for the limited purposes of establishing probable cause
that Kristopher Charles Martin Brown has committed an offense in violation of 18
U.S.C. § 2119, that is Carjacking, and an offense in violation of 18 U.S.C. § 922(j), that is
Possession of Stolen Firearm.

a The information contained in this affidavit is based on my personal
knowledge and experience, my personal participation in this investigation, and information
obtained from other law enforcement officers and/or agents involved in this investigation.

6. Since this affidavit is being submitted for the limited purpose of securing an
arrest warrant, J have not included every fact known to me concerning this investigation. I
have set forth only the facts that I believe are necessary to establish probable cause to
believe that a violation of 18 U.S.C. § 2119 and 18 U.S.C. § 922() have been committed
by Kristopher Charles Martin Brown.

FACTS AND CIRCUMSTANCES

7. On October 8, 2019, at approximately 5:40 am, Dallas Police Department
(DPD) Officers responded to a robbery call in the 9200 block of Cliffmere Drive, Dallas,
Dallas County, Texas, in the Northern District of Texas. Officers conducted an initial
interview with the eighty-eight year old female victim.

8. The victim told officers at approximately 2:30 am, she was asleep alone in
her bedroom when the victim awoke to find a male suspect in her bedroom. The male,
later identified as Kristopher Charles Martin Brown, punched the victim in her face
causing a visible black eye, visible swelling, and pain. Brown brutally sexually assaulted

the victim.

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2 Brown then had the victim go through her closet and start pulling out boxes
to see what was in the boxes. Brown observed a Remington Arms Co., Inc. model 11 20
gauge shotgun bearing serial number 1016606 and took the Remington shotgun without
the victim’s consent.

10. Brown then went through the victim’s purse and took approximately one
hundred and sixty-three dollars in United States (U.S.) Currency and the keys to the
victim’s green 2007 Lexus model RX-5 Sports Utility Vehicle (SUV) bearing Texas
License Plate CLT0885, further identified through Vehicle Identification Number (VIN)
#21T2GK31U97C024515.

11. Brown then tied the victim to a chair and disabled her telephones. Brown
told the victim she would find her vehicle at 3555 East Overton Road and wrote on an
envelope, “3555 East Overton, 41, 5 days”.

12. When Brown fled from the victim’s residence, he forcibly took and stole the
victim’s 2007 Lexus RX-5 SUV, the victim’s U.S. Currency, and the Remington shotgun.
The victim did not give Brown consent to enter her residence or take her property.

13. The victim believed Brown gained entry to her residence through a rear door
that lead to the backyard. DPD’s Crime Scene Response Section personnel responded,
photographed the victim’s injuries, and processed the crime scene for evidence. It was
discovered at that time, Brown had left shoe prints in the victim’s backyard. Photographs

of the shoe prints were taken and a casting of the one of the shoe prints was made.

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14. On October 8, 2019, at approximately 5:37 pm, DPD officers conducting
surveillance in a covert capacity observed Brown at the 7-Eleven located at 9320 Skillman
Street, Dallas, Texas, putting gas in the victim’s green 2007 Lexus RX-5 SUV.

15. Officers observed Brown enter the victim’s Lexus RX-5 SUV and drive
south on Skillman Street. A traffic stop was initiated on the victim’s vehicle and Brown,
the sole occupant of the vehicle, was taken into custody. The stolen Remington shotgun
was observed in plain view in the rear of the vehicle and was recovered at the scene.

16. During a recorded post-Miranda warning interview with a DPD Detective,
Brown told the Detective he purchased the vehicle for nine hundred dollars at a complex
at Overton Road and Illinois Avenue by building 41.

17. | Brown also said he purchased the shotgun at the same time. It was observed
Brown was wearing Nike Air Force | athletic shoes and the sole of the shoes matched the
footprints that were observed in the victim’s backyard.

18. While Brown’s person was being processed by DPD’s Crime Scene
Response Section personnel, Brown asked DPD officers if anyone had died. Brown then
made the res gestate statement to DPD officers “The old woman got up...”.

19. Brown was transported to the Dallas County Sheriff's Office Lew Sterrett
Jail and charged with Aggravated Robbery.

20. The victim’s green 2007 Lexus model RX-5 SUV bearing Texas License
Plate CLT0O885, further identified through VIN #2T2GK31U97C024515, was

manufactured in Ontario, Canada, thus affecting interstate and foreign commerce.

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21. Iam an Interstate Nexus Expert and have determined the receiver of the
stolen Remington shotgun possessed by Brown was not manufactured in the State of Texas
and has, by virtue of its presence in Texas, traveled in or affected interstate commerce.

22. [believe there is probable cause to believe that violations of 18 U.S.C. § 2119

and 18 U.S.C. § 922(j) have been committed by Brown and request that a warrant issue

for his arrest.

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Tonyd A. Engsish
Special Agent
Bureau of ATF

      

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HON. RENEE HARRIS TOLIVER
Unit tes Magistrate Judge
Northern District of Texas

  

 

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